           Case 1:16-cv-02481-CCC Document 88 Filed 09/18/18 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ERIKA EBERHARDINGER,                      :   CIVIL ACTION NO. 1:16-CV-2481
                                          :
                     Plaintiff            :   (Chief Judge Conner)
                                          :
               v.                         :
                                          :
CITY OF YORK, et al.,                     :
                                          :
                     Defendants           :

                                      ORDER

      AND NOW, this 17th day of September, 2018, upon consideration of the

motions (Docs. 58, 60) for summary judgment filed by defendants the City of York

(“the City”), Officer Benjamin Smith (“Officer Smith”), and State Farm Mutual

Automobile Insurance Company and its related entities (“State Farm”), 1 and for the

reasons stated in the accompanying memorandum, it is hereby ORDERED that:

      1.       The motion (Doc. 58) for summary judgment by the City and Officer
               Smith is GRANTED in part and DENIED in part, as follows:

               a.    Summary judgment is GRANTED in the City’s favor as to the
                     Monell failure-to-train claim (Count II).

               b.    Summary judgment is DENIED as to the Fourth Amendment
                     excessive force claim against Officer Smith (Count I).

      2.       State Farm’s motion (Doc. 60) for summary judgment is GRANTED in
               its entirety.




      1
        The amended complaint additionally names State Farm Fire & Casualty
Company, State Farm Companies, State Farm, and State Farm Insurance. (Doc. 50
¶¶ 12-18).
     Case 1:16-cv-02481-CCC Document 88 Filed 09/18/18 Page 2 of 2



3.       The Clerk of Court shall enter judgment in State Farm’s favor and
         against Eberhardinger on all claims. The Clerk of Court shall also
         enter judgment in the City’s favor and against Eberhardinger on Count
         II.

4.       State Farm’s motion (Doc. 51) to dismiss pursuant to Federal Rule of
         Civil Procedure 12(b)(6) is DISMISSED as moot.



                                         /S/ Christopher C. Conner
                                         Christopher C. Conner, Chief Judge
                                         United States District Court
                                         Middle District of Pennsylvania
